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                                                                                    15

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                                                                                                              UNITED STATES DISTRICT COURT
                                                                                    17                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                    18
                                                                                                                                   Misc. Action No. 2:20-mc-00076
                                                                                    19                                             _____________________
                                                                                    20    In re Application of Daniel Snyder
                                                                                          for an Order Directing Discovery from    Supplemental Declaration of Rizwan
                                                                                    21    New Content Media Inc. d/b/a MEA         A. Qureshi in Support of Ex Parte
                                                                                          WorldWide Pursuant to 28 U.S.C. § 1782   Petition for Assistance in Aid of a
                                                                                    22
                                                                                                                                   Foreign Proceeding Pursuant to 28
                                                                                    23                                             U.S.C. § 1782
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                                                                                          SUPPLEMENTAL DECLARATION OF RIZWAN A. QURESHI IN SUPPORT OF EX PARTE
                                                                                          PETITION FOR ASSISTANCE IN AID OF A FOREIGN PROCEEDING PURSUANT TO 28
                                                                                                                        U.S.C. § 1782
                                                                                   Case 2:20-mc-00076-MWF-MRW Document 9 Filed 08/11/20 Page 2 of 3 Page ID #:260



                                                                                     1                    DECLARATION OF RIZWAN A. QURESHI
                                                                                     2        I, Rizwan A. Qureshi, declare pursuant to 28 U.S.C. § 1746, as follows:
                                                                                     3        1.    I am a partner at Reed Smith LLP, attorneys of record for petitioner Daniel
                                                                                     4 Snyder (“Petitioner” or “Mr. Snyder”) in this matter. I am fully familiar with the facts

                                                                                     5 and circumstances set forth herein and submit this Supplemental Declaration in support

                                                                                     6 of Mr. Snyder’s Ex Parte Petition, pursuant to 28 U.S.C. § 1782, for assistance in aid

                                                                                     7 of a foreign proceeding.

                                                                                     8        2.    According to the MEAWW Privacy Policy (filed at Dkt. 1-5), MEAWW’s
                                                                                     9 Services, defined therein to include the “Websites”, “Apps”, “Social Media Pages” and

                                                                                    10 “email messages” (Dkt. 1-5, pp. 2), are “hosted and operated in the United States.” (Dkt.
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                                                                                    11 1-5, 9 at § 9.) To the best of my knowledge and understanding, Respondent, New

                                                                                    12 Content Media, Inc., is the only U.S.-based entity that is associated and affiliated with
REED SMITH LLP




                                                                                    13 the defendants named in the litigation currently pending in The Court of the Hon’ble

                                                                                    14 High Court of Delhi (the “Indian Court”), bearing the caption Daniel Snyder Through

                                                                                    15 his SPA Holder vs. Eleven Internet Services LLP & Ors. (the “Indian Action”) (Dkt. 1-

                                                                                    16 7).

                                                                                    17        3.    Attached hereto as Exhibit I is a true and correct copy of a screenshot of
                                                                                    18 the MEAWW App available for download on the Google Play store, which identifies

                                                                                    19 the App as being offered by Respondent New Content Media, Inc..

                                                                                    20        4.    Attached hereto as Exhibit J is a true and correct copy of a screenshot of
                                                                                    21 the MEAWW App available for download on the iTunes store, which identifies the

                                                                                    22 same App with the same logo that is set forth in Exhibit I, as being offered by Eleven

                                                                                    23 Internet Services LLP, a defendant in the Indian Action.

                                                                                    24        5.    Attached hereto as Exhibit K is a true and correct copy of the
                                                                                    25 Respondent’s 2018 Statement of Information, filed with the California Secretary of

                                                                                    26 State on August 12, 2018, which identifies David Richard as the agent for service of

                                                                                    27 process for the Respondent at that time.

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                                                                                         SUPPLEMENTAL DECLARATION OF RIZWAN A. QURESHI IN SUPPORT OF EX PARTE
                                                                                         PETITION FOR ASSISTANCE IN AID OF A FOREIGN PROCEEDING PURSUANT TO 28
                                                                                                                       U.S.C. § 1782
                                                                                   Case 2:20-mc-00076-MWF-MRW Document 9 Filed 08/11/20 Page 3 of 3 Page ID #:261



                                                                                     1        6.    Attached hereto as Exhibit L is a true and correct copy of Mr. Richard
                                                                                     2 LinkedIn profile which is publicly available and which I viewed online today. Mr.

                                                                                     3 Richard states that from August 2017 to July 2018 he was located in the “Greater Los

                                                                                     4 Angeles Area” and served as Head of Partnerships & Operations, North America for

                                                                                     5 MEA Worldwide, “a US based digital-first global entertainment and news company.”

                                                                                     6 (See pp. 3.) He also states that he still lives in the Los Angeles area, and has worked

                                                                                     7 (and currently works) for certain of the Indian Action Defendants. (See pp. 2.)

                                                                                     8

                                                                                     9        I declare under penalty of perjury under the laws of the United States that the
                                                                                    10 foregoing is true and correct.
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                                                                                    11        Executed this 11th day of August, 2020 at Washington D.C.
                                                                                    12
                                                                                                                        _____________________
REED SMITH LLP




                                                                                    13                                       Rizwan A. Qureshi, Esq.
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                                                                                         SUPPLEMENTAL DECLARATION OF RIZWAN A. QURESHI IN SUPPORT OF EX PARTE
                                                                                         PETITION FOR ASSISTANCE IN AID OF A FOREIGN PROCEEDING PURSUANT TO 28
                                                                                                                       U.S.C. § 1782
